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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONT ANA
                            BILLINGS DIVISION

 UNITED STATES OF AMERICA,                          CR 16-12-BLG-SPW-01

                          Plaintiff,
                                                         ORDER
            vs.

 JUAN RAMON DELGADILLO-MEZA
 and BETHANY ANN FAIRCHILD,

                          Defendants.



      Defendant, Juan Ramon Delgadillo-Meza, through his counsel Santiago E.

Juarez, has filed a Motion for Extension of Filing Pre-Trial Motions (Doc. 129).

Defendant was already granted one extension to file pre-trial motions (Doc. 125).

Counsel came on this case on July 28, 2016 (Doc. 85) allowing him adequate time

to file pre-trial motions. If the court were to grant this motion, it would mean trial

would have to be continued once again.         This is the Defendant's fifth trial setting

in this matter.   Therefore,

       IT IS HEREBY ORDERED that the motion to extend the deadline for filing

pre-trial motions (Doc. 129) is DENIED.


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     IT IS FURTHER ORDERED that Defendant's Motion to Suppress (Doc.

130) is DENIED as being untimely.

     The clerk of court is directed to notify counsel of the making of this Order.

     DATED this       ,9'~y of January, 2017.

                                     Le-J~:-
                                      SUSANP.WATTERS
                                      United States District Judge




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